 

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

Case No. 12-10008-JD®

 

RECEIVED
United States of America,
Plaintiff,
AUG 10 2015
VS.
Terry Copeland CLERK, U.S. DIST. COURT
Defendant. WESTERN DIST. OF TENN

DEFENDANT MOVE IN LIGHT OF JOHNSON vy. UNITED STATES _,

No. 13-7120 (U.S., 2015) THAT COUNSEL BE APPOINTED
PURSUANT TO 18 USC § 3006(A) TO PROVIDE LEGAL ASSISTANCE

IN PREPARING AND FILING A MOTION TO CORRECT THE
JUDGMENT OF THE COURT REGARDING THE INVALIDATION OF
THE RESIDUAL CLAUSE

Comes Now the Defendant, Terry Copeland , in pro se, and for
his motion requesting appointment under Title 18 USC § 3006(A) in light of
recent Supreme Court decision Johnson y. United States, No. 13-7120 (U.S.,
2015).

Through the office of the Federal Public Defenders, counsel should be
appointed in making legal inquires and then determining whether to prepare the
appropriate motion to vacate the judgment of the court, in light of Johnson v.
United States, (U.S., 2015), and with the high court invalidated the residual
clause statute, as unconstitutionally vague under view point discrimination,
ultimately the Fifth Amendment(s) Due Process Clause led the residual clause
statute being void for vagueness giving constitutional meaning that District Court

judgment(s) enforced by residual clause are no longer good Jaw.
 

Under the "intelligible principle" doctrine, the Supreme Court for its Johnson

 

decision reviewing to invalidate the residual clause statute principled its legal
opinion to determine if District Court(s) jurisdictionally lacked authority under
the constitution to interpret, enforce, or impose an unlawful residual clause
statute enacted by Congress.

From the Supreme Court(s) recent decision in Johnson, circuit court(s) appear

 

to be moving immediately in correcting prior unconstitutional residual clause
violations. See United States v. Darden, No. 14-5537 (6th Cir. 2015); see
United States v. Parral-Dominguez, 2015 BL 23619, 4th Cir. No. 14-4546 (4th
Cir. 2015), where the fourth circuit held that: Shooting a gun into an occupied
building does not constitute a crime of violence ); also see Beckles v. United
States, 576 U.S.__——, 2015), which the Supreme Court under Johnson v.
United States, (U.S., 2015) reversed and vacated a District Court(s) judgment

denying petitioner Beckles § 2255 motion.

 

So the question of retroactivity is obsolete under Teague v. Lane, 489 U.S.
288 (1989) and any such analysis regarding Teague should be deemed
inapplicable.

With lawyers now informing defendants should request the court to appoint
counsel to assist in preparing and filing a habeas petition, or a motion to vacate, a
District Court(s) judgment, if such judgment was obtained under the invalidated
residual clause statute, lawyers would not urge defendant(s) to do so if Johnson
v. United States, No. 13-7120 (US 2015), was not retroactive. See Attachment

1.
 

Because the Court enforced its judgment through the invalidation of the
residual clause by triggering the Armed Career Criminal Statute and § 4B1.4
Guidelines based on defendant(s) prior conviction for Assault, the court should
appoint counsel Attorney William Joshua Morrow on behalf of the defendant(s)
right to due process and the Sixth Amendment right to counsel in the interest of
removing the defective invalidated portions of the residual clause statute used in
the criminal proceeding illegally enhancing the sentence.

Wherefore, in the interest of justice, Defendant respectfully move that counsel
be appointed under 18 USC § 3006(A) to secure defendant(s) constitutional right
to due process.

CERTIFICATE OF SERVICE
I hereby declare that a true and correct copy of the foregoing motion has been

mailed with first class postage to the party below:

William Joshua Morrow
212 Pulaski Street
P.O. Box 787

anne TN 38464

  

Dated this_574_ of August 2015.
